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                                                                          May 18, 2020
 Honorable Terrence G. Berg                                                                                                            Via Electronic Filing
 Theodore Levin U.S. Courthouse
 231 W. Lafayette Blvd., Room 253
 Detroit, MI 48226

 Re:         Desheila Howlett v. City of Warren et al.
             Eastern District of Michigan Case No. 17-11260-TGB-RSW
             Supplemental Authority

 Dear Judge Berg:

        I provide with this letter a copy of the April 13, 2020 decision of the United States Court
 of Appeals for the Sixth Circuit in Hunter v. General Motors LLC., 2020 WL 1845871 (6th Cir.,
 April 13, 2020). I provide this as supplemental authority for Defendants’ pending Motion in
 Limine #5 (Doc. No. 107), particularly on the issue of a Title VII hostile work environment
 claim.

                                                   Very truly yours,

                                                   CUMMINGS, McCLOREY, DAVIS & ACHO, P.L.C.



                                                   Ronald G. Acho
 RGA/jac
 Enc.
 cc:  Amanda Chubb, Case Manager
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                                    C L I N T O N T O WN SH I P , M I ▪ G R A N D R A PI D S , M I ▪ L I V O N I A , MI ▪ T R A V ER S E C I T Y , M I
                                                     K A N SA S C I T Y , M O ▪ N E W Y O R K , N Y ▪ R I V E R S I D E , CA
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            2020 WL 1845871
      This case was not selected for
 publication in West’s Federal Reporter.                                     OPINION
  See Fed. Rule of Appellate Procedure
   32.1 generally governing citation of
judicial decisions issued on or after Jan.                 KAREN NELSON MOORE, Circuit Judge.
1, 2007. See also U.S.Ct. of App. 6th Cir.
                Rule 32.1.                                 *1 The district court granted summary
  United States Court of Appeals, Sixth                    judgment on Appellant Cynthia Hunter’s
                 Circuit.                                  discrimination claims. She appeals, arguing
                                                           that Defendant-Appellee, General Motors
                Cynthia HUNTER,                            LLC (“GM”), engaged in sex discrimination
               Plaintiff-Appellant,                        when it discharged her, created a hostile
                         v.                                work environment, and retaliated against
             GENERAL MOTORS LLC,                           her. We AFFIRM.
               Defendant-Appellee.

                   No. 19-1884
                        |
               FILED April 13, 2020

                                                                        I. BACKGROUND
ON APPEAL FROM THE UNITED
STATES DISTRICT COURT FOR THE                              Hunter, a black woman, was hired on March
EASTERN DISTRICT OF MICHIGAN                               1, 2013 as a Mainframe Technical Specialist
                                                           at GM’s Warren Technical Center in
Attorneys and Law Firms                                    Michigan. R. 25-1 (Hunter Dep. at 36,
                                                           39–40) (Page ID #157, 160–61). Samuel
Nanette L. Cortese, Law Office, Dexter, MI,                Rurka, her supervisor and a white male,
for Plaintiff-Appellant                                    began to harass Hunter in 2014. Id. at 30, 61
                                                           (Page ID #154, 171). For example, he
David B. Ritter, Barnes & Thornburg,                       speculated during a team meeting what a
Chicago, IL, for Defendant-Appellee                        child between Hunter and a white male
                                                           coworker would look like. Id. at 62–64
Before: MOORE, McKEAGUE,                           and
                                                           (Page ID #172–74). Rurka also began to
READLER, Circuit Judges.
                                                           report that Hunter had performance issues.
                                                           See R. 25-2 (2014 Performance Review at
                                                           2–3) (Page ID #299–300).

                                                           On September 24, 2014, Hunter was found

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to be partially at fault for a data-loss                   about women. GM concluded that “[t]he
incident. See R. 25-2 (Overview of                         allegations of discrimination and harassment
Mainframe Data Loss at 1) (Page ID #303).                  are unsubstantiated.” Id. Afterwards, Hunter
Although Hunter explained to her team                      complained to HR about Rurka’s treatment.
members that she would address a problem                   R. 25-1 (Hunter Dep. at 155) (Page ID
regarding the capacity of the mainframe’s                  #237).
tape libraries, R. 25-1 (Hunter Dep. at
116–18) (Page ID #208–10), Rurka ordered                   Hunter was discharged on February 18,
that the files be deleted without consulting               2016, after she made a change request on
her, see R. 25-3 (Rurka Dep. at 24) (Page ID               February 4, 2016, which Rurka asked her to
#394). A disciplinary memorandum was                       undo. Id. at 100, 167, 171–72 (Page ID
placed in her personnel file. R. 25-2                      #197, 245, 249–50). Rurka recommended
(Disciplinary Mem. Jan. 5, 2015) (Page ID                  her discharge. R. 25-7 (Rurka Decl. at 5)
#305). On September 20, 2015, Hunter and                   (Page ID #487). Hunter filed an “open door”
Jorge Diaz were making “change requests,”                  complaint about her termination, but the
and Diaz failed to follow directions,                      investigation concluded that her claims of
“caus[ing] some corruption.” R. 27-12                      discrimination were unsubstantiated. R. 25-2
(Gurchiek Dep. at 11–12) (Page ID #578).                   (Open Door Appeal Letter) (Page ID #333).
Hunter was disciplined, see R. 25-2
(Disciplinary Mem. Oct. 1, 2015) (Page ID                  *2 Hunter raised race and sex discrimination
#312), but Diaz was not, R. 25-1 (Hunter                   and hostile work environment claims under
Dep. at 151) (Page ID #234). Hunter was                    Title VII of the Civil Rights Act of 1964 and
involved in other incidents in 2015 as well.               Michigan’s Elliott-Larsen Civil Rights Act
See, e.g., R. 25-2 (Disciplinary Mem. Oct. 1,              of 1976 (“ELCRA”) as well as race- and
2015) (Page ID #312); R. 25-7 (Rurka Decl.                 sex-based retaliation claims under ELCRA
at 4) (Page ID #486).                                      in state court, and GM removed the case to
                                                           federal court. R. 1 (Notice of Removal)
GM received an anonymous email                             (Page ID #10–23). GM filed a motion for
complaint on September 30, 2015, alleging                  summary judgment, R. 23 (Mot. for
that Rurka did not treat female employees                  Summary J. at 1–2) (Page ID #108–09),
fairly and made inappropriate comments                     which the district court, through the
about women. R. 25-2 (GM Awareline Case                    magistrate judge, granted, R. 33 (Op. &
Detail Report at 1) (Page ID #313). Hunter                 Order Granting Mot. for Summary J. at
and the other female employee on her team                  1–36) (Page ID #624–59); R. 21 (Notice,
were interviewed in response to the                        Consent, & Reference of a Civil Action to a
complaint. See R. 25-2 (GM Global Security                 Magistrate Judge) (Page ID #103). Hunter
Investigation Report at 8) (Page ID #322).                 filed a motion for relief from judgment
They explained that Rurka complimented                     and/or reconsideration, R. 36 (Mot. for
their male coworkers but not them, treated                 Recons. at 1–27) (Page ID #665–91), which
them disrespectfully, refused to let them                  was denied. R. 37 (Op. & Order Den. Mot.
work from home, excluded them from                         for Recons. at 1–12) (Page ID #692–703).
meetings, and made inappropriate comments                  This appeal followed.
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                                                           Metro. Hous. Auth., 429 F.3d 232, 238 (6th
                                                           Cir. 2005) (citing DiCarlo v. Potter, 358
                                                           F.3d 408, 414 (6th Cir. 2004), overruled on
                                                           other grounds by Gross v. FBL Fin. Servs.,
                                                           Inc., 557 U.S. 167, 180, 129 S.Ct. 2343, 174
                                                           L.Ed.2d 119 (2009)). Hunter contends that
             II. Standard of Review                        she has produced both.
When we address a state-law claim, we
                                                           Direct evidence is evidence that “requires no
apply the federal rules of procedure. See
                                                           inferences or circumstantial evidence to
Hanna v. Plumer, 380 U.S. 460, 473–74, 85
                                                           create an inference of discrimination.”
S.Ct. 1136, 14 L.Ed.2d 8 (1965). We review
                                                           Peeples v. City of Detroit, 891 F.3d 622, 633
de novo a district court’s grant of summary
                                                           (6th Cir. 2018) (citing Jacklyn v.
judgment and denial of a motion to
                                                           Schering-Plough Healthcare Prods. Sales
reconsider that decision. Med. Ctr. at
                                                           Corp., 176 F.3d 921, 926 (6th Cir. 1999)).
Elizabeth Place, LLC v. Atrium Health Sys.,
                                                           Hunter points to Rurka’s differential
922 F.3d 713, 723 n.6 (6th Cir. 2019).
                                                           treatment of male employees, Appellant Br.
Summary judgment is warranted “if the
                                                           at 33–35, but this evidence requires us to
movant shows that there is no genuine
                                                           draw inferences that the differential
dispute as to any material fact and the
                                                           treatment reflects a bias against women and
movant is entitled to judgment as a matter of
                                                           that this bias motivated Hunter’s discharge.
law.” FED. R. CIV. P. 56(a). Facts are
                                                           Therefore, Hunter does not provide direct
viewed in the light most favorable to the
                                                           evidence of sex discrimination.
nonmoving party, and all justifiable
inferences are drawn in the nonmoving
                                                           When a plaintiff seeks to demonstrate
party’s favor. Matsushita Elec. Indus. Co. v.
                                                           discrimination through indirect evidence, we
Zenith Radio Corp., 475 U.S. 574, 587–88,
                                                           utilize the McDonnell Douglas Corp. v.
106 S.Ct. 1348, 89 L.Ed.2d 538 (1986).
                                                           Green, 411 U.S. 792, 93 S.Ct. 1817, 36
                                                           L.Ed.2d 668 (1973), framework. White, 429
                                                           F.3d at 238. A plaintiff must first establish a
                                                           prima facie case of discrimination. Shazor v.
                 III. ANALYSIS1
                                                           Prof’l Transit Mgmt., Ltd., 744 F.3d 948,
                                                           957 (6th Cir. 2014). To establish a prima
                                                           facie case of sex discrimination, “a plaintiff
                                                           normally must show that he or she: 1) is a
A. Discrimination                                          member of a protected class; 2) was
An employer cannot discharge an employee                   qualified for the position; 3) suffered an
based on her sex under Title VII or ELCRA.                 adverse employment action; and 4) suffered
42 U.S.C. § 2000e-2(a)(1); MICH. COMP.                     such action under circumstances which give
LAWS § 37.2202(1)(a). A plaintiff may                      rise to an inference of unlawful
demonstrate sex discrimination with direct                 discrimination.” See Macy v. Hopkins Cty.
or indirect evidence. White v. Columbus                    Sch. Bd. of Educ., 484 F.3d 357, 364–65
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(6th Cir. 2007) (citing cases), abrogated on               281 F.3d 605, 611 (6th Cir. 2002)). Hunter
other grounds by Lewis v. Humboldt                         does neither.
Acquisition Corp., 681 F.3d 312, 315 (6th
Cir. 2012) (en banc); see also Birch v.                    Hunter argues that her male coworkers were
Cuyahoga Cty. Prob. Ct., 392 F.3d 151, 166                 not disciplined as she was for the September
(6th Cir. 2004). Only the fourth prong is at               2014 or September 2015 incidents, that she
issue here, and Hunter fails to show a                     was fired despite making fewer mistakes
material fact dispute exists.                              than her male coworkers, and that Rurka
                                                           called only women “uneducated,” “sloppy,”
*3 First, Hunter appears to argue that                     or “lazy.” Appellant Br. at 29–31. As
Rurka’s discriminatory motive manifested                   discussed above, Hunter does not argue that
itself in his scapegoating of her for her male             she and her male colleagues engaged in the
coworker’s mistakes. See, e.g., Appellant                  same conduct during the September 2014
Br. at 14–15. She points to two incidents for              and September 2015 incidents. To support
which she was disciplined for a male                       her assertion that she made fewer mistakes
colleague’s mistakes: the September 2014                   than her male coworkers, she points to a
mainframe data-deletion incident and the                   coworker’s statement that she had the lowest
September 2015 incident involving Diaz. Id.                percentage of mistakes. See id. at 29–30.
at 25. However, she does not specifically                  However, this datapoint does not indicate
identify the mistakes made by her male                     whether Hunter’s male counterparts were
coworkers during the data-deletion incident                making the same mistakes as she was.
for which she alone was blamed. The record                 Finally, Rurka’s comments by themselves
shows only that her male team members                      do not demonstrate differential treatment.
were present during the team meeting. And                  We have held that comments may be so
although Hunter shows that she was blamed                  probative      “of     a    decision-maker’s
for the later incident, one instance of                    discriminatory animus that a plaintiff’s
scapegoating during a three-year tenure does               failure to satisfy the fourth element of the
not permit an inference of discrimination.                 McDonnell Douglas prima facie case is not
                                                           fatal to her claim,” Birch, 392 F.3d at 166,
Second,        Hunter     relies   on      a               but we have never held that mere rude
differential-treatment theory. Appellant Br.               statements are sufficient. Accordingly,
at 26–31. To succeed, she must show that a                 Hunter’s sex discrimination claim cannot
similarly situated non-protected person was                survive summary judgment.
treated more favorably, Jackson v. VHS
Detroit Receiving Hosp., Inc., 814 F.3d 769,
776 (6th Cir. 2016), or that the comparator
received a different disciplinary outcome
when “the plaintiff and his proposed
comparator ... engaged in acts of                          B. Hostile Work Environment
‘comparable seriousness,’ ” Wright v.                      Under Title VII and ELCRA, Hunter must
Murray Guard, Inc., 455 F.3d 702, 710 (6th                 establish a prima facie case of a sex-based
Cir. 2006) (quoting Clayton v. Meijer, Inc.,               hostile work environment by demonstrating
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             that (1) she is a member of                   unreasonably       interfere[d]   with     an
             a protected class (female),                   employee’s performance.” Randolph v. Ohio
             (2) she was subjected to                      Dep’t of Youth Servs., 453 F.3d 724, 733
             harassment, either through                    (6th Cir. 2006) (quoting Harris v. Forklift
             words or actions, based on                    Sys., Inc., 510 U.S. 17, 23, 114 S.Ct. 367,
             sex, (3) the harassment                       126 L.Ed.2d 295 (1993)). “[O]ffhand
             had      the     effect    of                 comments” and “isolated incidents” do not
             unreasonably interfering                      suffice. Barrett v. Whirlpool Corp., 556 F.3d
             with         her        work                  502, 515 (6th Cir. 2009) (quoting Faragher
             performance and creating                      v. City of Boca Raton, 524 U.S. 775, 788,
             an                objectively                 118 S.Ct. 2275, 141 L.Ed.2d 662 (1998)).
             intimidating, hostile, or                     Our precedent presents “a relatively high bar
             offensive               work                  for    what      amounts      to   actionable
             environment; and (4) there                    discriminatory conduct under a hostile work
             exists some basis for                         environment theory.” Phillips v. UAW Int’l,
             liability on the part of the                  854 F.3d 323, 328 (6th Cir. 2017) (noting
             employer.                                     that in many cases, overtly discriminatory
                                                           statements and racial slurs did not create a
                                                           hostile work environment under this
Grace v. USCAR, 521 F.3d 655, 678 (6th                     standard).
Cir. 2008); Betts v. Costco Wholesale Corp.,
558 F.3d 461, 468 (6th Cir. 2009) (quoting                 *4 Hunter does not meet this high bar. She
Downey v. Charlevoix Cty. Bd. of Rd.                       argues that Rurka treated female employees
Comm’rs, 227 Mich.App. 621, 576 N.W.2d                     disrespectfully, did not allow female
712, 716 (1998)) (ELCRA). As to the third                  employees to work from home, blamed
prong, the only prong at issue here, “the                  Hunter for male employees’ mistakes, and
conduct must be ‘severe or pervasive                       excluded female employees from meetings.
enough to create an environment that a                     Appellant Br. at 36. Such conduct is
reasonable person would find hostile or                    discriminatory, but it is not “sufficiently
abusive and the victim must subjectively                   severe or pervasive to alter the conditions of
regard that environment as abusive.’ ” Warf                [her] employment and create an abusive
v. U.S. Dep’t of Veterans Affairs, 713 F.3d                working environment.” Phillips, 854 F.3d at
874, 878 (6th Cir. 2013) (quoting Bowman                   327 (quoting Williams v. CSX Transp. Co.,
v. Shawnee State Univ., 220 F.3d 456, 463                  643 F.3d 502, 512 (6th Cir. 2011)). And
(6th Cir. 2000)). We consider the totality of              while Rurka’s comments about what a child
the circumstances in assessing objective                   between Hunter and a white male coworker
severity or pervasiveness and look to the                  might look like are totally inappropriate and
following factors for guidance: “the                       offensive, they are not so serious under our
frequency of the discriminatory conduct; its               precedents that they “alter[ed] the conditions
severity; whether it [was] physically                      of [her] employment and create[d] an
threatening or humiliating, or a mere                      abusive working environment.” Williams,
offensive utterance; and whether it                        643 F.3d at 511.
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                                                                        at 36. As we have held in other cases, such
                                                                        perfunctory argument forfeits the issue on
                                                                        appeal. See McPherson v. Kelsey, 125 F.3d
                                                                        989, 995–96 (6th Cir. 1997).
C. Retaliation
At the prima-facie stage of an ELCRA
retaliation claim, Hunter must establish that
(1) she engaged in protected activity; (2) the
defendant knew that she did so; (3) “the
defendant took an employment action                                                      IV. CONCLUSION
adverse to [her]; and (4) that there was a
causal connection between the protected                                 For these reasons, we AFFIRM the district
activity and the adverse employment                                     court’s grant of summary judgment and
action.” Williams v. Gen. Motors Corp., 187                             denial of the motion to reconsider.
F.3d 553, 568 (6th Cir. 1999) (quoting
Wrenn v. Gould, 808 F.2d 493, 500 (6th Cir.
1987)); Garg v. Macomb Cty. Cmty. Mental                                All Citations
Health Servs., 472 Mich. 263, 696 N.W.2d
                                                                        --- Fed.Appx. ----, 2020 WL 1845871, 2020
646, 653 (2005). Hunter’s brief on appeal on
                                                                        Fair Empl.Prac.Cas. (BNA) 135,665
the retaliation claim consists of two
sentences stating that Rurka made the
decision to terminate Hunter. Appellant Br.

Footnotes

1        We apply the following analysis to both the ELCRA claims and the Title VII claims unless otherwise noted. See Ondricko v. MGM
         Grand Detroit, LLC, 689 F.3d 642, 652 (6th Cir. 2012).




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